AO 106 (Rev, 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Tennessee

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

The Feride cel premises propetly located at 16 Forest Ridge
Lane, Apartment 2, Fayetteville, Tennessee

Case No. 1:18-mj- 1S

APPLICATION FOR A SEARCH WARRANT

1, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

The residence/premises/property located at 16 Forest Ridge Lane, Apartment 2, Fayetteville, Tennessee, as more specifically described in
Attachment A

located in the » Eastern “District of Tennessee _ , there is now concealed (idensi/y the

 

person or describe the property to be seized):
Evidence of violations of 18 U.S.C. § 922(g)(1), as more specifically described in the attached affidavit and in

Attachment B of this application.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
@ evidence of a crime;
Mf contraband, fruits of crime, or other items illegally possessed;
@ property designed for use, intended fer use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search Is related to a violation of:

Code Section Offense Description
18 U.S.C. § 922(g)(1) Being a felon in possession of firearms

The application is based on these facts:
see attached affidavit

om Continued on the attached sheet.

Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Btrobe AML

| Applicant ‘fsGnature
Stephen Gordy, ATF Special Agent

Printed name and title

 

Sworn to before me and signed in my presence.

Date: 12/03/2018 a
Judge signature

City and state: Chattanooga, Tennessee Christopher H. Steger, U.S. Magistrate Judge
Printed name and title

Case 1:18-mj-00115-CHS Document1 Filed 12/03/18 Page1iof1i PagelD#: 1
